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ROBIN A. PEDERSON eae PATRICK J. MCCLAIN

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September 4, 2024 ALEXANDER E. FOUNDOS
TRAVIS J. GRESHAM
JENNIFER L. WILLIAMS
KYLE W. BAILEY
JOSEPH M. DOBBS
VIA CERTIFIED MAIL WILLIAM K. HOTCHKISS
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ZACHARY A. HATFIELD

Terrence Fitch MEGHAN C. MCCABE
MARIA E. MESOLORAS

P. 0. Box 81842 CYNTHIA HARRIS ORTEGA

Racine, WI 53408 Assistant City Attorneys

RE: Terrence Fitch v. City of Milwaukee; Joseph Lacroix; Tonya Rosales;
The State of Wisconsin
Case No. 23-CV-82

Dear Mr. Fitch:

Enclosed please find a copy of Defendants’ First Set of Discovery Requests and a
Certificate of Service in the above referenced matter. Pursuant to Local Rule, the
originals shall remain in our files. Please note that your responses are due within
thirty (30) days.

Also enclosed, please find a copy of the following discovery materials provided by
Defendants:

® CD containing video file “21-054-1546 #1 ROSALES 1h12m.mp4”

° CD containing video file “21-054-1546 #2 (Extraction_1.1) ROSALES
th12m.mp4”

® CD containing video file “21-054-1546 #3 LACROIX 11m54s.mp4”

e CD containing video file “21-054-1546 #4 (Extraction_1.1) LACROIX
11m54s.mp4”

@ CD containing video file “21-054-1546 #5 LACROIX 1h59m.mp4”

e CD containing video file “21-054-1546 #6 (Extraction 2.1) LACROIX
1h59m.mp4”

e CD containing video file “21-054-1546 #7 LACROIX 19m31s.mp4"

EXHIBIT

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MILWAUKEE

Terrence Fitch
September 4, 2024
Page Two

e CD containing video file “21-054-1546 #8 (Extraction 1.1) LACROIX

19m32s.mp4”
° CD containing video file “21-054-1546 #9 ROSALES 4m58s.mp4”
e CD labeled “Reports” which contains the following:

O PDF titled “Fitch Reports” containing:

Very truly yours,
Electronically signed by

MARIA MESOLORAS
Assistant City Attorney

MEM/cdr

Enclosures

1032-2023-133/292949

Milwaukee County Arrest Detention Report (MPD ID #
000564898) (pgs. 1-2 of PDF)

Probable Cause Statement and Judicial Determination
(Agency Case No 181260164) (pgs. 3-4 of PDF)

CAD report for Call # 210541546 (pgs. 4-6 of PDF)
Milwaukee Police Department document concerning Case
# 181260164 (pg. 7 of PDF)

Document titled “Printed for: G634/[redacted]” concerning
“2 Degree Sexual Assault District 2” (pg. 8 of PDF)
Milwaukee Police Department Incident Report for Case
Number 181260164.002. (pgs. 9-10 of PDF)

Milwaukee Police Department Incident Report for Case
Number 181260164, 181260164.0, 181260164.001,
181260164.002, 181260164.003, 181260164.004,
181260164.005, 181260164.006, 181260164.007,
181260164.008, 181260164.009, 181260164.010,
181260164.011, and 181260164.012. (pgs. 11-30 of PDF)
Milwaukee Police Department Investigation Employee
Case File History (Civil Investigations) regarding Officer
Rosales. (pg. 31 of PDF)

Milwaukee Police Department Investigation Employee
Case File History (Civil Investigations) regarding Officer
Lacroix. (pg. 32 of PDF)
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

TERRENCE FITCH,
Plaintiffs,

Vv. Case No. 23-CV-82

TONYA ROSALES and
JOSEPH LACROIX,

Defendants.

CERTIFICATE OF SERVICE ON NON ECF PARTICIPANT

Cynthia Reynolds herein certifies that she is employed by the City of Milwaukee
as a Legal Office Assistant - Lead, assigned to duty in the office of the City Attorney,
200 East Wells Street, 800 City Hall, Milwaukee, WI 53202; that on the 4th day of
September, she deposited a copy of Defendants’ First Set of Discovery Requests, ten (10)
CDs, and this Certificate of Service in the United States mail at City Hall in the City of
Milwaukee, Wisconsin in the above-entitled case, in a securely enclosed envelope, the
postage duly prepaid, addressed to:

TO: Terrence Fitch
P. O. Box 81842

Racine, 53408
ae

CYNTHIA REYNOLDS

1032-2023-133/292948
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or on the front if space permits.

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~ PS Form 381 ‘1, July 2020 PSN 7530-02-000-9053

3. Service Typs
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